                               UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


  ANGEL DE JESUS ZEPEDA RIVAS, et                   Case No. 20-cv-02731-VC
  al.,
                 Plaintiffs,                        BAIL ORDER NO. 16
           v.

  DAVID JENNINGS, et al.,
                 Defendants.



The bail requests from the following detainees are denied without prejudice:
       •   Lawrence Kuria Mwaura
       •   Guillermo de Jesus Hernandez
       •   Jose Eduardo Guerra

The bail requests from the following detainees are granted:
       •   Maximo Martinez-Juan
       •   Hung Tien Nguyen
       •   Alex Rivera-Giorges


       Bail is subject to the standard conditions of release stated at Dkt. 108. Mr. Martinez-
Juan’s bail is subject to further conditions: he is prohibited from consuming alcohol or driving,
he must submit to alcohol monitoring and attend AA meetings, and there must be no alcohol in
his home. Mr. Nguyen and Mr. Rivera-Giorges’s bail are subject to the condition that class
counsel must certify to ICE that space is available for Nguyen and Rivera-Giorges at the
transitional facility.
        IT IS SO ORDERED.


Dated: May 23, 2020
                                            ______________________________________
                                            VINCE CHHABRIA
                                            United States District Judge




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